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                                    UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF NEW YORK


FREE HOLDINGS, INC.,

                           Plaintiff,
                                                         Case No. 1:22-cv-00881-LGS
v.
                                                         ORDER FOR ADMISSION
KEVIN MCCOY, SOTHEBY’S INC., and                            PRO HAC VICE
NAMELESS CORPORATION,

                           Defendant.


        The motion of Nadav Aschner, for admission to practice Pro Hac Vice in the above captioned

action is granted.

        Applicant has declared that he is a member in good standing of the bar of the State of Colorado;

and that his contact information is as follows:

        Applicant’s Name: Nadav Aschner

        Firm Name: The Rodman Law Group, LLC

        Address: 600 S. Cherry St., Ste. 835

        City/State/Zip: Denver, Colorado 80246

        Telephone/Fax: (720) 663-0558 (both telephone and fax)

        Email: nadav@therodmanlawgroup.com

Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel for Nameless

corporation in the above entitled action;

        IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the above

captioned case in the United States District Court for the Southern District of New York. All attorneys

appearing before this Court are subject to the Local Rules of this Court, including the Rules governing

discipline of attorneys.

Dated: _____________                              _________________________________
                                                  United States District / Magistrate Judge
